16-11700-smb     Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09   Exhibit
               D-Monthly Fee Statements and Invoices Pg 1 of 61




                                  EXHIBIT D

                   Cahill Monthly Fee Statements and Invoices
16-11700-smb         Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                         Exhibit
                   D-Monthly Fee Statements and Invoices Pg 2 of 61

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                                               Pg 1of14


                                                            Objection Dendline: September 5 1 2016

  CAHILL GORDON & REINDEL LLP
  Susan Buckley
  Joel H. Levitin
  Eighty Pine Street
  New York, New York J 0005
  Telephone: (212) 701-3000
  Facsimile: (212) 269-5420

 Special Litigation Counsel to the Debtors and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORI(
  ~~-----~------~-----------------~---~---~------;){

 In re                                                   Chapter 11

 Gawker Media LLC, e/ a/., 1                             Case No. 16-11700 (SMB)

                           Debtors.                      (Jointly Administered)

 --~-----~-------------------------------------------x

         FIRST MONTHLY STATEMENT OF CAHILL GORDON & REINDEL LLP
             AS SPECIAL LITIGATION COUNSEL TO THE DEBTORS FOR
          COMPENSATION AND REIMBURSEMENT OF EXPENSES INCURRED
            FOR THE PERIOD FROM JUNE 10, 2016 THROUGH JULY 31, 2016




 1
  The Inst four digits of the taxpayer identification number of the debtors arc: Gawker Medin LLC (0492);
 Gawker Medin Group, Inc. (3231); and Kinjn Kft. (5056). The offices of Gawker Media LLC and
 Gawker Medin Group, Inc, arc located at 114 Fifth Avenue, 2d Floor, New York, NY 10011. Kinja Kft.'s
 offices are located at Andrassy ut 66. I062 Budapest, Hungary.
16-11700-smb          Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                        Exhibit
                    D-Monthly Fee Statements and Invoices Pg 3 of 61

16-11700-smb         Doc 203     Filed 08/19/16 Entered 08/19/16 13:59:40             Main Document
                                               Pg 2 of 14


     Name of Applicant:                          Cahill Gordon & Reindel LLP

     Authorized to Provide
     Professional Services to:                   The Debtors

 Date of Retention:                              August I I. 2016 nzmc pro tune to June 10. 2016

 Period for Which Compensation and/or            June 10, 2016, through
 Reimbursement is Sought:                        and including July 31, 2016

 Total Amount of Compensation Sought
 At Agreed Discounted Rates                      Fees: $31,557.20
 (Not Applying 20% Holdback for Fees)            Expenses: $709.26

 This is a(n) X monthly_ interim_ final application. No prior application was filed for this
 Fee Peno. d?.-




 2
  Notice of this Monthly Fee Statement (as defined herein) will be served in eccordnncc with the fnterim
 Compensation Order (as defined herein), nnd any objections to the relief requested in this Monthly Fee
 Statement must be addressed in accordance with the Interim Compensation Order.
16-11700-smb     Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09               Exhibit
               D-Monthly Fee Statements and Invoices Pg 4 of 61
16-11700-smb    Doc 203     Filed 08/19/16 Entered 08/19/16 13:59:40    Main Document
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          Summary Chart of Previous Monthly Fee Statements and Fee Applications

                                  Monthly Fee Stntcmcnts
                                                   ,..-~~~~-r~~~~---1

                                                          Fees       Expenses
               Date Filed         Period Covered
                                                        Re uested    Re uestcd
                 NIA


                                     Fee Applientions
                                                          Fees       Expenses
               Date Filed         Period Covered
                                                        Re ucstcd    Re ucsted
                 NIA
16-11700-smb           Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                            Exhibit
                     D-Monthly Fee Statements and Invoices Pg 5 of 61

16-11700-smb         Doc 203      Filed 08/19/16 Entered 08119/16 13:59:40                Main Document
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            Pursuant to sections 327, 330, and 331 of chapter 11 of title 11 of the United States Code

  (the .. Bankruptcy Code"), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the

  "Bnnkruptcy Rules"), and the Order Establishing Procedures for Interim Compensation nnd

  Reimbursement of Expenses of Professionals entered by this Court on July 13, 2016 [Docket No.

  94] (the "Interim Compensation Order"), Cahill Gordon & Reindel LLP ("Cahill"), Special

  Litigation Counsel to the debtors and debtors in possession in these proceedings (the "Debtors")

  with respect to the Mail Media Litigation (as defined in the Debtors' Application for Entry of an

  Order Authorizing the Retention and Employment of Cahill dated July 25, 2016 (the "Cahill
                                                    3
  Retention Application") [Docket No. 131 ] ), hereby files this monthly fee statement (this

  "Monthly Fee Statement") for the period of June IO, 2016 through and including July 31, 2016
                                                                                      4
  (the "Fee Period") for (a) compensation in the amount of $31,557.20 for the actual and

  necessary legal services rendered by Cahill to the Debtors during the Fee Period (80% of which

  is $25,245.76), and (b) reimbursement for the actual and necessary expenses incurred by Cahill

  during the Fee Period in the amount of $709.26.


                         Ttcmization of Services Rcnclcrcd and Disbursements Incurred

            In support of this Monthly Fee Statement, attached are the following exhibits:

            Exhibit A is n schedule of the number of hours expended and fees incuned on an

  aggregate basis by Cahi ll's attorneys during the Fee Period with respect to ce11nin categories.


  3
      The Cuhill Retention Application was granted by Order dated August 11, 2016 [Docket No. 169].

  ~ As disclosed in the Cahill Retention Application, Cahill is charging special discounted hourly rates, well
  below Cnhill's usual and customary rates, that were agreed upon for this matter. The discount amounts to
  approximately $9,000,
16-11700-smb         Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                    Exhibit
                   D-Monthly Fee Statements and Invoices Pg 6 of 61

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            Exhibit B is a schedule prnviding certain infonnation regarding the Cahill attorneys and

  paraprofessionals for whose work compensation is sought in this Monthly Fee Statement.

  Attorneys have expended a total of 39.70 hours in connection with the Debtors during the Fee

  Period.

            Exhibit C is a schedule setting forth the total amount of reimbursement sought with

  respect to each category of expenses for which Cahill is seeking reimbursement in this Monthly

  Fee Statement.

            Exhibit D consists of Cahill's invoice rendered to, and approved by, the Debtors, which

  includes time detail and records of fees and expenses incurred during the Fee Period.

            WHEREFORE, Cahill requests that it be allowed reimbursement for its reasonable fees

  and expenses incurred during the Fee Period in the total amount of $25,955.02, consisting of (a)

  $25,245.76, which is 80% of the reasonable fees incurred by the Debtors for actual and necessary

  professional services rendered by Cahill, and (b) $709.26 for actual and necessary costs and

  expenses, and that such fees and expenses be paid as administrative expenses of the Debtors.

  Dated: August 20, 2016
            New York, New York
                                                /s/ Joel H. Levitin
                                                Susan Buckley
                                                Joel H. Levitin
                                                CAHILL GORDON & REINDEL LLP
                                                Eighty Pine Street
                                                New York, New York 10005
                                                Telephone: (212) 701-3000
                                                Facsimile: (212) 269-5420
                                                jlevitin@cahill.com
                                                sgordon@cahil I.com

                                                Special Litigalion Counsel to the
                                                Debtors and Debtors-in-Possession
16-11700-smb       Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09            Exhibit
                 D-Monthly Fee Statements and Invoices Pg 7 of 61

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                                       EXHlBIT A

                            Statement of Fees hv Subject Matter

     Project Category                   Total Hours Billed            Total Fees Requested
          16-11700-smb         Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                             Exhibit
                             D-Monthly Fee Statements and Invoices Pg 8 of 61
          16-11700-smb        Doc 203      Filed 08/19/16       Entered 08/19/16 13:59:40          Main Document
                                                            Pg 7of14


                                                           EXHIBITB

                                                     Attorney Information

        Attorney        Position      Year First       Department            Hourly             Total           Total
                                      Admitted                            Billing Rate5         Hours        Compensation
                                                                                                Billed




         TOTAL                                                                                   39.70          $31,557.20

                                                Blended Hourly Rate: $794.89




            lAs disclosed in the Cahill Retention Application, Cahill is charging special discounted hourly rates, well
            below Cnhill 's usunl and customary rates, that were agreed upon for this matter. The discount amounts to
            approximately $9,000.




L - - - - - - - - - - - - - - - - - - - - - - - - ---·- -- ~·
16-11700-smb        Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                           Exhibit
                  D-Monthly Fee Statements and Invoices Pg 9 of 61
16-11700-smb      Doc 203      Filed 08/19/16 Entered 08/19/16 13:59:40                Main Document
                                             Pg 8 of 14



                                               EXHIBIT C
                                                                                          6
                 Summary of Actual and Ncccssnrv Expenses for the Fee Pcriod

          Service Description                                                   Amount


                Court Costs                                                       39.79




 6
   Cahill submits that these expenses arc reasonable and economical, are the type of expenses that are
 customarily charged to Cnhill's non-bankruptcy clients, and reflect the actual amounts billed to, or paid
 by, Cahill on behalf of the Debtors.
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09            Exhibit
            D-Monthly Fee Statements and Invoices Pg 10 of 61

16-11700-smb   Doc 203   Filed 08/19/16 Entered 08/19/16 13:59:40   Main Document
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                                    EXHIBITD
    16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                                                       Exhibit
                D-Monthly Fee Statements and Invoices Pg 11 of 61

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                                                             Pg 10of14

Gawker Media LLC
114 Fifth Avenue
New York, NY 10011



                                                                                                                                       242818

                                                                                                                             August 16, 2016




                                                     Re: DIP Special Litigation Counsel


         For professional services rendered in connection with the DIP
         Special Litigation Counsel matter during the period ended July 31,
         2016 ............................................................................................................   $      31,557.20
         Disbursements and charges ................................................................... ..                             709.26
                                                                                             TOTAL                           $
                                                                                                                                 -------
                                                                                                                                   32,266.46
    16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                              Exhibit
                D-Monthly Fee Statements and Invoices Pg 12 of 61

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GA WK.ER MEDIA LLC                                                                               August 16 2016
DIP Special Litigation Counsel
Page 2



FOR PROFESSIONAL SERVICES RENDERED

   DATE                NAME                                 DESCRIPTION                               HOURS
  06/10116      Wood, JK              Conversation with Ms. Buckley re; settlement                         0.10
                                      agreements.
  06/12116      Buckley, S            Mem. to CO'C updating her on status of plaintifrs                    0.30
                                      response on settlement (.20); e-corr. to/from CO'C re:
                                      same (.10).
  06/14/16      Buckley, S            Rev. corr. from opposing counsel responding to                       0.50
                                      settlement proposal (.1 O); respond to same (.10); briefly
                                      review their proposed revisions to settlement agreement
                                      (.30).
  06/15/16      Buckley, S            Mcm. to CO'C re: proposed revisions to settlement                    0.20
                                      agreement and confidentiality issue.
  06/16/16      Wood, JK              Email correspondence with Ms. O'Connor, Ms. Orso,                    0.30
                                      and Ms. Buckley re: engagement letters for Jane-Claire
                                      Quigley, Max Rend, and Tommy Craggs (.30).
  06/17/16      Buckley, S            Rev. corr. from JWood re: individual retention                       0.20
                                      agreements (.1 O); respond to same(. I0)
  06/17/16      Wood, JK              Email correspondence with Ms. O'Connor and Ms. Orso                  0.20
                                      re: engagement letters for Jane-Claire Quigley, Max
                                      Read, and Tommy Craggs.
  06/21/16      Bucklt:y, S           Respond to questions from CO'C re: status and provide                1.00
                                      estimates per CO'C (.30); review revisions to settlement
                                      docs per plaintiffs counsel (.SO); e-corr. to/from CO'C
                                      re: same and procedure going forward (.20).
  06/22/16      Buckley, S            Rev. corr. from Oliveri re: settlement (.20); e-corr.                J.00
                                      CO'C re: same (.1 O); e-corr. to/from CO'C re: advice
                                      from bankruptcy counsel (.30); farther c01respondence
                                      re: impact of stay (.20); corr. to Oliveri re: status (.10);
                                      e-corr. CO'C re: same (.10).
  06/23116      Buckley, S            TCs with bankruptcy counsel for procedures going                     1.00
                                      forward for settlement (.30); TCs K.Burke and
                                      DJanuszewski re: impact on individual defendant and
                                      Ropes & Gray advice (.30); IF re: stip requirements as
                                      to damages/fees/costs as it relates to request for
                                      confidentiality (.40)
    16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                              Exhibit
                D-Monthly Fee Statements and Invoices Pg 13 of 61

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GAWKER MEDIA LLC                              Pg 12 of 14
                                                                                                 August 16, 2016
DIP Special Litigation Counsel
Page 3

    DATE               NAME                                DESCRIPTION                                 HOJ.lRS
  06/28/16      Buckley, S            TC W. Hartnett re: bankruptcy retention (.10); TC                     1.00
                                      K.Burke re: bankmptcy procedure (.20); TC CO'C re:
                                      possible retention (.20); memo to R&G attaching
                                      current settlement documents (.30); e-corr. CO'C re:
                                      srune (.20)
  06130116      Buckley, S             E-corr. to/from Ropes Gray re: conference call on                   0.20
                                       possible retention.
  07/01/16      Buckley, S             Communications to/from R&G re: Cahill retention                     0.50
                                       issues and motion.
  07/06/16      Buckley, S            Conf. call Ropes and Gray re: schedule and motion to                  1.00
                                      be filed on Monday (.40); TC KBurke re: same (.20);
                                      TC CO'C re: omnibus motion for approval of certain
                                      settlements and reaction to Mail Online's new proposal
                                      (.40).
  07/06/16      Burke, KJ             Conf. call with Debtors' counsel re: 327(e) retention                 1.60
                                      (.40); review and revise 327(c) retention application
                                      (1.20).
  07/07/16      Buckley, S            Review and revise motion papers to be filed with                     5.00
                                      bankruptcy court for Cahill retention (3.0); gather facts
                                      for same (1.60); mcm. to R&G with additional
                                      comments (.40).
  07/08/16      Buckley, S            TC KBurke re: notice to all Cahill employees (.20);                  2.00
                                      gather additional facts for 327(e) motion (.60); draft
                                      riders for Buckley declaration (.90); conf. call Ropes &
                                      Gray attorneys re: timing and list (.30).
  07/11/16      Buckley, S            E-corr. to/from JOliveri re: status of settlement.                   0.20
  07/12/16      Buckley, S            TC Joe Oliveri at Clare Locke re: procedure going                    0.40
                                      forward and our comments on settlement issues
                                      outstanding (.30); e-corr. CO'C re: same (.10).
  07113116      Buckley, S            Conf. call CO'C reporting on call with opposing counsel              2.00
                                      (.40); TCs KBurke re: conflict list forwarded by R&G
                                      (.30); TC SDasaro at R&G re: same (.20); e-corr
                                      KBurke and client re: conflict check (.30); draft new
                                      revised paragraph 1 of settlement agreement for CO'C
                                      and mem. re: same (.80).
  07/14/16      Buckley, S            Discussions with CO'C re: R&G instructions (.50); e-                 2.00
                                      corr. SDasaro re: conflict issues (.20); e-corr. to/from
                                      CO'C re: call with R&G on list (.20); e-corr. to/from
    16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                             Exhibit
                D-Monthly Fee Statements and Invoices Pg 14 of 61

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                                              Pg 13of14
GAWKER MEDIA LLC                                                                               August 16, 2016
DIP Special Litigation Counsel
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                        NAME                               DESCRIPTION                               HOURS
                                      CO'C on Heather instructions (.1 O); TC CO'C exploring
                                      options to reduce costs (.50); TC Gregg Galardi re:
                                      possible solution (.30); c-corr. to/from JLcvitin re:
                                      Galardi advice (.20).
  07115/16     Levitin, JH            Discussion w/ S. Buckley re: conflict process and                   0.50
                                      follow up.
  07/15/16     Buckley, S             TC Joel Levitin re: conflict list and TC with GGalanli              3.00
                                      (.20); prep memo to all Cahill employees re: SONY
                                      judges, US Trustees, stock and other issues (1.0); do
                                      second conflict check for Gawker and review lists (.80);
                                      e-corr. R&G re: revised draft of motion (.30); rev.
                                      response (.40); review responses to all employee memo
                                      (.30) .
  07/18/16     Levitin, JH            Disc's w/ G. Galardi re: retention application issues (.3);         0.80
                                      Disc's w/ G. Zypcs re: conflict check issues (.3); Disc's
                                      w/ S. Buckley re: status (.2).
  07/18/16     Buckley, S             E-corr. and TC with MRoitmann at R&G re: current                    0.60
                                      motion draft (.40); TC JLevitin re: call with US Trustee
                                      (.20).
  07/19/16     Levitin, JI-I          Review of Sun Edison filings (1.0); revision of Buckley             3.00
                                      declaration (2.0).
  07/19/16     Buckley, S             E-corr. to/from R&G and Joel Levitin re: draft motion               4.00
                                      and declaration (.40); review JLevitin revised draft and
                                      make additions (2.0); TC JLevitin re: outstanding
                                      questions (.20); gather additional financial data re: bi!Js
                                      paid within 90 days (.30); e-corr. Administration re:
                                      rates (.20); further additions to draft per JLcvitin (.70);
                                      circulate revised draft to R&O with answers to their
                                      questions (.20).
  07/20/16     Buckley, S             E-corr. to/from SDasaro re: corporate entities who                  0.20
                                      retained Cahill (.1 O); check engagement letter (.10).
  07/22/16     Levitin, JH            Revising retention papers (2.0); discussions w/ S.                  2.40
                                      Buckley re: same (.4).
  07/22/16     Buckley, S             Review and revise current draft of application to appear            2.50
                                      as special litigation counsel ( 1.60); conf. !Levitin re:
                                      same (.40); e-corr. lo/from R&G re: revisions (.20); TC
                                      JLevitin re: nunc pro tune issue (.1 O); TC CO'C re:
                                      status (.20).
     16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                Exhibit
                 D-Monthly Fee Statements and Invoices Pg 15 of 61

    16-11700-smb       Doc 203       Filed 08/19/16    Entered 08/19/16 13:59:40            Main Document
                                                       14    14
GAWKER MEDIA LLC                                    Pg    of                                        August 16, 2016
DIP Special Litigation Counsel
Page 5

   DATE                    NAME                                  DESCRIPTION                              HOURS
  07/25/16       Levitin, JH                Review of revised retentions application (.5);                     0.70
                                            discussions w/ S. Buckley re: same (.2).
  07/25/16       Buckley, S                 TC JLevitin re: cunent drafts (.1 O); rev. new draft               0.50
                                            forwarded by R&G (.30); respond to R&G re: same
                                            (.10).
  07/26/16       Levitin, JH                Review of as filed retention application.                          0.30
  07/26116       Buckley, S                 Rev. R&G filings of yesterday (.40); TC JLevitin re:               0.50
                                            Gawker notice sent to London and motion date (.10).

                                            TOTAL TIME                                                        39.70


                                  --------------·-----TIME RECAP·-·-··-···----·---·-

              NAME                                     RATE      HOURS                 AMOUNT
             Buckley, S                               800.00        29.80               23,840.00
             Burke, KJ                                800.00         1.60                1,280.00
             Levitin, JH                              800.00         7.70                6,160.00
             Wood, JK                                 462.00         0.60                  277.20

                               TOTAL                                39.70              $31,557.20




  DISBURSEMENTS AND CHARGES                                                 AMOUNT

Computer Service Reports                                                        637.50
Court Costs                                                                      39.79
Local Transportation                                                             31.97
                                                  Total Disbursements          $709.26
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                  Exhibit
            D-Monthly Fee Statements and Invoices Pg 16 of 61

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                                                 Pg 1of12


                                                                Objection Deadline: October S, 2016

 CAHILL GORDON & REINDEL LLP
 Susan Buckley
 Joel H. Levitin
 Eighty Pine Street
 New York, New York 10005
 Telephone: (212) 701-3000
 Facsimile: (212) 269-5420

 Special Litigation Counsel lo the Debtors and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ----------------------~------------------------------x

 Jn re·                                                    Chapter 11

 Gawker Media LLC, et al., 1                               Case No. 16-11700 (SMB)

                            Debtors.                       (Jointly Administered)

 -----------------------·------------------------------x
       SECOND MONTHLY STATEMENT OF CAffiLL GORDON & REINDEL LLP
            AS SPECIAL LITIGATION COUNSEL TO THE DEBTORS FOR
         COMPENSATION AND REIMBURSEMENT OF EXPENSES INCURRED
        FOR THE PERIOD FROM AUGUST 1, 2016 TI-ffiOUGH AUGUST 31, 2016




 1
  The last four digits of the taxpayer identification number of the debtors are: Gawker Media LLC (0492);
 Gawker Medin Group, Inc. (3231); and Kinja Kft. (5056). The offices of Gawker Media LLC and
 Gawker Media Group, Inc. arc locutcd at 114 Fifth Avenue, 2d Floor, New York, NY 10011. Kinja Kft.'s
 offices are located at Andrassy ut 66. I062 Budapest, Hungary.
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                 Exhibit
            D-Monthly Fee Statements and Invoices Pg 17 of 61

16·11700·smb       Doc 272      Filed 09/19/16 Entered 09/19/16 14:20:33              Main Document
                                              Pg 2of12


 Name of Applicant:                              Cahj]l Gordon & Reindel LLP

 Authorized to Provide
 Professional Services to:                       The Debtors

 Date of Retention:                              August 11. 2016 mmc pro tune to June 10, 2016

 Period for Which Compensation and/or            August 1, 2016, through
 Reimbursement is Sought:                        and including Augµst 31. 2016

 Total Amount of Compensation Sought
 At Agreed Discounted Rates                      Fees: $25,440.00
 (Not Applying 20% Holdback for Fees)            Expenses: $99.16

 This is a(n) X monthly _       interim _    final application. No prior application was filed for this
             2
 Fee Period.




 1
  Notice of this Monthly Fee Statement (as defined herein) will be served in accordance with the Interim
 Compensation Order (as defined herein), nnd any objections to the relief requested in this Monthly Fee
 Statement must be addressed in accordance with the Interim Compensation Order.
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                   Exhibit
            D-Monthly Fee Statements and Invoices Pg 18 of 61

16-11700-smb    Doc 272     Filed 09/19/16    Entered 09/19/16 14:20:33   Main Document
                                          Pg 3 of 12


          Summary Chart of Previous Monthlv Fee Statements and Fee Applications

                                  Monthly Fee Statements
                                                            Fees      Expenses
               Date Filed         Period Covered
                                                         Requested    Requested
          August 19, 2016           6/10-7/3 )/) 6       $31,557.20    S709.26


                                      Fee Applications
                                                           Fees       Expenses
               Dntc Filed         Period Covered
                                                         Requested    Requested
                  NIA
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                     Exhibit
            D-Monthly Fee Statements and Invoices Pg 19 of 61

16-11700-smb         Doc 272     Filed 09/19/16      Entered 09/19/16 14:20:33             Main Document
                                                  Pg 4 of 12



           Pursuant to sections 327, 330, and 331 of chapter 11 of title 11 of the United States Code

 (the "Bankruptcy Code"), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the

 "Bankruptcy Rules"), and the Order Establishing Procedures for Interim Compensation and

 Reimbursement of Expenses of Professionals entered by this Court on July 13, 2016 [Docket No.

 94] (the "Interim Compensation Order"), Cahill Gordon & Reindel LLP ("Cahill"), Special

 Litigation Counsel to the debtors and debtors in possession in these proceedings (the "Debtors")

 with respect to the Mail Media Litigation (as defined in the Debtors' Application for Entry of an

 Order Authorizing the Retention and Employment of Cahill dated July 25, 2016 (the "Cahill

 Retention Application") [Docket No. 131]3), hereby files this monthly fee statement (this

 "Monthly Fee Statement") for the period of August l, 2016 through and including August 31,
                                                                                       4
 2016 (the "Fee Period") for (a) compensation in the amount of $25,440.00 for the nctual and

 necessary legal services rendered by Cahill to the Debtors during the Fee Period (80% of which

 is $20,352.00), and (b) reimbursement for the actual and necessary expenses incurred by Cahill

 during the Fee Period in the amount of$99.16.


                       Itemization of Services Rendered and Disbursements Incurred

           In support of this Monthly Fee Statement, attached are lhe following exhibits:

           Exhibit A is n schedule of the number of hours expended and fees incurred on an

 aggregate basis by Cahill 's attorneys during the Fee Period with respect to certain categories.


 3
     The Cnhill Retention Application was grunted by Order dated August 11, 2016 (Docket No. 169).

 ~ As disclosed in the Cahill Retention Application, Cahill is charging special discounted hourly rates, well
 below Cnhill's usual and customary rates, that were agreed upon for this matter. The discount amounts to
 approximately $8,000 for this period.
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                           Exhibit
            D-Monthly Fee Statements and Invoices Pg 20 of 61

16-11700-smb       Doc 272     Filed 09/19/16     Entered 09/19/16 14:20:33      Main Document
                                              Pg 5 of 12


           Exhibit B is a schedule providing certain information regarding the Cahill attorneys and

 paraprofessionals for whose work compensation is sought in this Monthly Fee Statement.

 Attorneys have expended a total of 31.80 hours in connection with the Debtors during the Fee

 Period.

           Exhibit C is a schedule setting forth the total amount of reimbursement sought with

 respect to each category of expenses for which Cahill is seeking reimbursement in this Monthly

 Fee Statement.

           Exhibit D consists of Co.hill's invoice rendered to, and approved by, the Debtors, which

 includes time detail and records of fees and expenses incurred during the Fee Period.

           WHEREFORE, Cahill requests that it be allowed reimbursement for its reasonable fees

 and expenses incurred during the Fee Period in the total amount of $20,451.16, consisting of (a)

 $20,352.00, which is 80% of the reasonable fees incurred by the Debtors for actual and necessary

 professional services rendered by Cahill, and (b) $99.16 for actual and necessary costs and

 expenses, and that such fees and expenses be paid as administrative expenses of the Debtors.

 Dated: September 19, 2016
        New York, New York
                                                Isl Joel H. Levitin
                                                Susan Buckley
                                                Joel H. Levitin
                                                CAHILL GORDON & REINDEL LLP
                                                Eighty Pine Street
                                                New York, New York 10005
                                                Telephone: (212) 701-3000
                                                Facsimile: (212) 269-5420
                                                jlevitin@cahill.com
                                                sgordon@cahill.com

                                                Special Litigation Counsel to the
                                                Debtors and Debtors-in-Possession
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                    Exhibit
            D-Monthly Fee Statements and Invoices Pg 21 of 61

16-1170Qwsrnb    Doc 272   Filed 09/19/16   Entered 09/19/16 14:20:33    Main Document
                                        Pg 6 of 12



                                       EXHIBIT A

                           Statement of Fees by Subject Matter

     Project Category                   Total Hours Billed              Total Fees Requested
 16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                      Exhibit
             D-Monthly Fee Statements and Invoices Pg 22 of 61

 16-11700-smb         Doc 272      Filed 09/19/16 Entered 09/19/16 14:20:33                 Main Document
                                                 Pg 7 of 12


                                                  EXHIBITB

                                             Attorney Information

Attorney       Position      Year First        Department            Hourly              Total           Total
                             Admitted                             Billing Rate 5        Hours         Compensation
                                to Bar                                                  BiJJed




                                          Blended Hourly Rate: $800




   5
     As disclosed in the Cahill Retention Application, Cahill is charging special discounted hourly rates, well
   below Cahill's usual and customary rates, that were agreed upon for this matter. The discount amounts to
   approximately $8,000 for this period.
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                   Exhibit
            D-Monthly Fee Statements and Invoices Pg 23 of 61

16-11700-smb       Doc 272      Filed 09/19/16       Entered 09/19/16 14:20:33          Main Document
                                                 Pg 8of12



                                               EXHIBIT C
                                                                                          6
                 Summarv of Actual and Necessnrv Expenses for the Fell Pcriod

           Service Description                                                   Amount




 6
   Cahill submits that these expenses are reasonable and economical, are the type of expenses that are
 customarily charged to Cahill 's non~bankruptcy clients, and reflect the actual amounts billed to, or paid
 by, Cahill on behalf of the Debtors.
  16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                                                          Exhibit
              D-Monthly Fee Statements and Invoices Pg 24 of 61

 16-11700-smb            Doc 272             Filed 09/19/16 Entered 09/19/16 14:20:33                                            Main Document
                                                           Pg 9 of 12
                                                                                                       FED . TAX JD NO. lJ-5510029
                                                                                                      WIRE TRANSFEl'l
Gawker Media LLC                                                                   ItSnG DANI< lJSA, 110 WILLIAM STREET, N.Y., N. Y. lOOGEI
114 Fi~h Avenue                                                                                       A.SA #021001088
                                                                                                     CAHILL GORDON & REINO EL LL!"
New York, NY 10011                                                                                         AIC tOlS-70965-5
                                                                                                                           13lLL ND,


                                                                                                                                       243609
                                      CAHILL GORDON &                                     REINDEL LL~
                                                            Eioz.tTY PINI? STnxET                                          ~eptember 14, 2016
                                                     N:i::w Yonr.:. N.Y. lOD05·1702




                                                     Re: DIP Specjnl Litigation Counsel


         For professional services rendered in connection with the DIP
         Special Litigation Counsel matter during the period ended August
         ]J,2016 ............................................................... .......................................     $     25,440.00
         Disbursen1cn1s nnd charges .............................. ,..................................... .                            99.16
                                                                                            TOTAL                            $     25,539.16
  16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                 Exhibit
              D-Monthly Fee Statements and Invoices Pg 25 of 61

 16-11700-smb        Doc 272     Filed 09/19/16    Entered 09/19/16 14:20:33          Main Document
                                               Pg 10 of 12
GAWKER MEDIA LLC                                                                            September 14, 2016
DIP Special Litigation Counsel
Pnge 2



FOR PROFESSIONAL SERVICES RENDERED

   DATE                 NAME                                 DESCRIPTION                              HOURS
  08/04/16      Levitin, JH             Review of retention of objection {.5); corresp. re: snme            0.70
                                        (.2)
  08/04116      Buckley, S              Review objection by unsecured creditors to firm                     0.60
                                        retentions (.40); communications with ]Levitin re: same
                                        {.20)
  08/05116      Levilin, JH             Call to Simpson re: retention objection (, 1); discussion's         0.50
                                        w/ S. Dasano re: response to objection (.2); discussion1s
                                        w/ S. Buckley re: same (.2)
  08/07/J 6     Buckley, S              Communications with JLevitin re: status of committee                0.20
                                        abjection and Tuesday's hearing
  08/08/16      Levitin, JH             Discussion's w/ M. Massei! (STB) re: retention issues               1.50
                                        (.3); discussion's w/ G. Gulardi re! retention (.2);
                                        discussion's w/ S. Buckley re: retention (.3); drnfting
                                        language to support retention (. 7).
  08/08/16      Buckley, S              Communications with client concerning settlement                    0.80
                                        terms and DMail position
  08/09/16      Levitin, JI-I           Co1Tesp. re: retention order and review of same.                    0.40
  08/09/16      Buckley, S              Communications with client re: new tenns to propose to              2.00
                                        opposing counsel (.50); communications with Levitin
                                        re: how to den! with bankruprcy upproval in agreement
                                        (.30); 1·evising settlement agreement (I .O); e-corr.
                                        to/from C0 1C re: outstanding settlement iss\1cs (.20)
  08/1OJI6      Levitin, JI-I           Review of drafts of retention order (.3); corresp. re:              2.20
                                        same (.2); review and revision of draft selllement
                                        agreement (1.5); discussion's w/ S. Buckley re: same
                                        (.2).
  08110/16      Buckley, S              Communications with Levitin re: agreement (.40)i                    3.60
                                        revise settlement draft (1.0); conference call re:
                                        agreement terms (.60); communications with client re:
                                        same (.40); second revisions per points on call (.60);
                                        further TCs Levitin l'e: DM obligations (.40); mem. to
                                        opp. counsel (.20)
  08/11116      Levitin, JH             Review and revise settlement agreement (.3); and                    0.50
                                        discussion's w/ S. Buckley re: same (.2)
 16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                 Exhibit
             D-Monthly Fee Statements and Invoices Pg 26 of 61

 16-11700·smb       Doc 272      Filed 09/19/16 Entered 09/19/1614:20:33              Main Document
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GAWKER MEDIA LLC                                                                            September 14, 2016
DIP Special Litigation Counsel
Page 3

   DATE                 NAME                                DESCRIPTION                              HOURS
  08111/16      Buckley, S             Proof revised draft of SA and forward to JLevit in (.40);           2.30
                                       TC JLevitin l't!i draft (.20); revise drnf1 {.30); TC CO'C
                                       re: revisions (.20); mem. to opposing counsel re: new
                                       draf"ls (.30); review compensation order sent to R&G
                                       (.20); communications with JLevitin re: fee application
                                       procedures (.40); mem. lo James King re: status (.30)
  08/12/16      Buckley, S             Gather info for fee application to bankruptcy court                 2.00
                                       ( 1.0); prep. prebill for ultimate submission to
                                       bankruptcy coml (1.0)
  08115116      Levitin, JH            Review fee invoice (.3); drafting template for first                3.60
                                       monthly fee statement, including review of applications
                                       rates (3.0); Discussion's w. S. Buckley re: fee statement
                                       (.3).
  08/15/16      Buckley, S             Working on fee upplication (.70); communications with               1.30
                                       JLevitin re: same (.20); review drnft statement nnd other
                                       mntcrinls prepared by !Levitin nnd respond (.40)
   08/16/16     Levitin, JH             Revising monthly fee statement nnd corresp. re: same.              1.50
   08/16/l 6    Buckley, S             Revisions to fee application (.50); communications with             1.00
                                       JLevilin re: same (.30); e-corr. CO'C re: client approval
                                       of statement and privilege issues (.20)
   08/17116     Bucldey, S              Review R&G comments on fee app (. 10)                              0. 10
   08/18/16     Levitin, JH            Co1resp and discussion's w/ S. Buckley re: fee                      0.20
                                       stntement.
   08/18/16     Buckley, S              Review nnd categorize time entries for fee application             2.30
                                       (.80); communications with JLevitin re: motion papers
                                       (.40); communications with CO'C re: fee application
                                       (.30); communications to CO'C re: Gawker shutting
                                       down (.40); TC JO!iveri re: status of Daily Mail review
                                       of drafts (.20); report to CO'C re: call with Oliveri (.20)
   08/19116      Levitin, JH           Review and revise fee statement for filing nnd corresp.             2.00
                                       re: same (2.0); discussion's w/ S. Buckley re:
                                       implementation of settlement (.2).
   08/J 9/16     Buckley, S            Communications with CO'C re: effectuating settlement                0.70
                                       obligations (.50); TC JLevilin re: same (.20)
   08/23116      Buckley, S            Communications with JLevitin re: pre-petition work                  0.90
                                       (.20); communications with CO'C re: same (.30); review
                                       all entries for privilege (.40)
  16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                        Exhibit
              D-Monthly Fee Statements and Invoices Pg 27 of 61

 16-11700-srnb        Doc 272       Filed 09/19/16      Entered 09/19/16 14:20:33            Main Document
                                                    Pg 12of12
GAWKER MEDIA LLC                                                                                     September 14, 2016
DIP Special Litigntion Counsel
Pnge 4

    DATE                    NAME                                  DESCRIPTION                                 HOURS
  08124/J 6       Levitin, JH                Finalizing and submitting proof of clnim.                              0.50
  08/29116        Buckley, S                 Communications with opposing counsel re: current                       0.40
                                             drnfts of agreement (.20); communications with client
                                             re: same (.20)

                                             TOTAL TIME                                                            31.80


                                   -·-·-------···------TIME RECAP---·----··-······-··

               NAME                                    Mm         HOURS                 AMOUNT
              Buckley, S                               800.00        18.20               14,560.00
              Levitin, JH                              800.00        13.60               10,880.00

                                TOTAL                                31.80              $25,440.00




  DISBURSEMENTS AND CHARGES                                                  AMOUNT

Air Freight Delivery Charge                                                        ) 9.46
Reproduction                                                                       14.70
Word Processing                                                                    65.00
                                                   Total Disbursements           S99.I6
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                              Exhibit
            D-Monthly Fee Statements and Invoices Pg 28 of 61
16-11700-smb         Doc 358       Filed 10/19/16 Entered 10/19/16 14:01:15           Main Document
                                                Pg 1of12


                                                                Objection Dcatllinc: Novcmbcr4, 2016

 CAHILL GORDON & REINDEL LLP
 Susan Buckley
 Joel H. Levitin
 Eighty Pinc Street
 New York, New York I 0005
 Telephone: (212) 701-3000
 Facsimile: (212) 269-5420

 Special Litigcaion Counsel to the Debtors and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------~--------------------x

 In re                                                      Chapter I 1

 Gawker Media LLC, er al., 1                                Case No. 6-11700 (SMB)

                            Debtors.                        (Jointly Administered)

 -------------------------------~----------------------)(

         THIRD MONTHLY STATEMENT OF CAHILL GORDON & REINDEL LLP
             AS SPECIAL LITIGATION COUNSEL TO THE DEBTORS FOR
          COMPENSATION AND REIMBURSEMENT OF EXPENSES INCURRED
     FOR THE PERIOD FROM SEPTEMBER l, 2016 THROUGH SEPTEMBER 30, 2016




 1
  The last four digits of the taxpayer idcntilicntion number of the debtors nrc: Gnwkcr Medin LLC (0492);
 Gawker Medin Group, Inc. (3231); nnd Ki1tja Kft. (5056). The offices of Gawker Media LLC nnd
 Gawker Medin Group, Inc. nrc located nt 114 Fifth Avenue, 2d Floor, New York, NY 1001 I. Kinjn Kft.'s
 offices nre locnled nt Andrnssy ut 66. I062 Budapest, Hung!lly.
 16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09 Exhibit
             D-Monthly Fee Statements and Invoices Pg 29 of 61
16-11700-smb Doc 358 Filed 10/19/16 Entered 10/19/16 14:01:15 Main Document
                                   Pg 2 of 12


 Name of Applicant:                              Cahi 11 Gordon & Reindel LLP

  Authorized to Provide
  Professional Services to:                      The Debtors

 Dute of Retention:                              August 1L 2016 nunc pro 11/nc to June l 0, 20 l 6

 Period for Which Compensation and/or            September 1, 2016, through
 Reimbursement is Sought:                        and including September 30. 2016

 Total Amount of Compensation Sought
 At Agreed Discounted Rates                      Fees: $7,360.00
 (Not Applying 20% I-Ioldback for Fees)          Expenses: $32.50

 This is a(n) .X. monthly_ interim_ final application. No prior application was filed for this
        . d.-'.l
 Fee Peno




 2
  Notice of this Monlhly Fee Statement (as defined herein) will be served in nccordancc with the rnterim
 Compensation Order (as defined herein), and any objections to the relief requested in this Monthly Fee
 Statement must be uddressed in accordance with the Interim Compensation Order.
    16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                   Exhibit
                D-Monthly Fee Statements and Invoices Pg 30 of 61
   16-11700-smb      Doc 358   Filed 10/19/16 Entered 10/19/16 14:01:15        Main Document
                                             Pg 3 of 12


             Sumnrnrv Chart of Previous Monthh• Fee Statements nnd Fee Applications

                                         Monthly Fee Stntemcnts
                                                 Fees          Expenses    Fees Pnid to    Expenses
    Dntc Filed         Period Covered
                                              Requested        Requested       Dntc       Pnid to Dnte
 August 19, 2016         6/10-7/31/16         $31,557.20        $709.26     $25,245.76      $709.26
September 19, 2016      8/1/16-8/31/16        $25,440.00         $99. 16    $20,352.00       $99. 16


                                            Fee Applicntions
                                                Fees           Expenses    Fees Pnid to    Expenses
    Date Filed         Period Covered
                                              Requested        Requested      Date        Paid to Date
      NIA
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                 Exhibit
            D-Monthly Fee Statements and Invoices Pg 31 of 61
16-11700-smb       Doc 358      Filed 10/19/16      Entered 10/19/16 14:01:15              Main Document
                                                 Pg 4 of 12



         Pursuant to sections 327, 330, and 331 of chapter 11 of title I l of the United States Code

  (the "Bankruptcy Code"), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the

  BBankntptcy Rules"), and the Order Establishing Procedures for Interim Compensation and

  Reimbursement of Expenses of Professionals entered by this Court on July 13, 2016 [Docket No.

  94) (the "Interim Compensation Order"), Cahill Gordon & Reindel LLP ("Cahill"), Special

  Litigation Counsel to the debtors and debtors in possession in these proceedings (the i.Debtors")

  with respect to the Mail Media Litigation (as defined in the Debtors' Application for Entry of nn

  Order Authorizing the Retention and Employment of Cahill dated .July 25, 2016 {the "Cahill

  Retention Application") [Docket No. 131 ]\ hereby files this monthly fee statement (this

 "Monthlv Fee Statement") for the period of September 1, 2016 through and including September
                                                                                       4
 30, 2016 (the "Fee Period") for (a) compensation in the amount of $7,360.00 for the actual and

 necessary legal services rendered by Cahill lo the Debtors during the Fee Period (80% of which

 is $5,888.00), and (b) reimbursement for the actual and necessary expenses incurred by Cahill

 during the Fee Period in the amount of $32.50.


                      Itemization of Scn•iccs Rendered and Disbursements Incurred

         In support of this Monthly Fee Statement, attached are the following exhibits:

         Exhibit A is a schedule of the number of hours expended and fees incurred on an

 aggregate basis by Cahill' s attorneys during the Fee Period with respect to certain categories.



 l The Cnh ill Retention Application was granted by Order dntcd August I I, 2016 [Docket No. 169].


  As disclosed in the Cahill Retention Application, Cahill is charging special discounted hourly rates, well
 below Cnhill 's usuul and customary rntes, that were agreed upon for this matter. The discount amounts to
 approximately $3,000.00 for this period.
 16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09 Exhibit
             D-Monthly Fee Statements and Invoices Pg 32 of 61
16-11700-smb Doc 358 Filed 10/19/16 Entered 10/19/16 14:01:15 Main Document
                                   Pg 5of12


            Exhibit B is a schedule providing certain information regarding the Cahill attorneys and

  pamprofessionals for whose work compensation is sought in lhis Monthly Fee Statement.

  Attorneys have expended a total of 9.20 hours in connection with the Debtors during the Fee

  Period.

            Exhibit C is a schedule setting forth the total amount of reimbursement sought with

  respect to each category of expenses for which Cahill is seeking reimbursement in this Monthly

  Fee Statement.

            Exhibit D consists of Cahill's invoice rendered to, and approved by, the Debtors, which

  includes time detail and records of fees and expenses incurred during the Fee Period.

            WHEREFORE, Cahill requests that it be allowed reimbursement for its reasonable fees

  and expenses incurred during the Fee Period in the total amount of $5,920.50, consisting of (a)

  $5,888.00, which is 80% of the reasonable fees incul'l'ed by the Debtors for actual and necessnry

  professional services rendered by Cahill, and (b) $32.50 for actual and necessary costs and

 expenses, and that such fees and expenses be paid as administrative expenses of the Debtors.

  Dated: October 19, 2016
         New York, New York
                                                Isl Joel H. Levitin
                                                 Susan Buckley
                                                 Joel H. Levitin
                                                CAHILL GORDON & RErNDEL LLP
                                                 Eighty Pine Street
                                                 New York, New York 10005
                                                Telephone: (212) 701-3000
                                                 Facsimile: (212) 269-5420
                                                j Ievitin@cnhill.com
                                                sgordon@cnhill .com

                                                Special litigation Counsel to the
                                                Debtors and Dcb1ors-i11-Possession
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                    Exhibit
            D-Monthly Fee Statements and Invoices Pg 33 of 61
16-11700-smb      Doc 358       Filed 10/19/16 Entered 10/19/16 14:01:15              Main Document
                                              Pg 6of12



                                           EXHIBIT A

                                Statement of Fees by Subject Mnttcr

    Project Category                        Total Hours Billed                       Total Fees Requested

                                   ,.                5i30 .
                                                                           .   . .
                                                                                ~


                                                                                       . '. $4,240,00 -;. . .. :.,.r' ~.-.......
  Mail Online Litigation    '                                     ;       ..                                                             'r. ,. 1'



  Monthly Fee Statement                         •. 3.90       ~       -                    · ~-:i 120.on ' i .. . '•
                                                                                                                          • 11      I~
                                                                                                                                              ..
                                                ..                                      '      -         •.             ... v· •.
                                                                                                                          ~
                                                                                                                                  ...,..-   r '
                                                                                                                              ~


                                                                                                                                  '\        ,.
         TOTAL                                       9.20                                    $7 ,360.00 - .
     16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                  Exhibit
                 D-Monthly Fee Statements and Invoices Pg 34 of 61
    16-11700-smb        Doc 358       Filed 10/19/16      Entered 10/19/16 14:01:15            Main Document
                                                       Pg 7 of 12


                                                     EXHIBIT B

                                                Attorncv Information

  Attorney        Position      Year First        Department            Hourly             Total           Total
                                Admitted                             Billing Rate 5        Hours        Compensation
                                 to Bar                                                    Billed
Susan Buckley      Partner        1978              Medin                 $800              8.00            $6,400.00   .
                                                                                                                        -
                                                  Litigation
Joel H. Levitin    Partner          1987         Bankruptcy &              800              1.20             $960.00
                                                 Restmcturing

   TOTAL                                                                                    9.20            $7,360.00

                                             Blended Hourly Rate: $800




      5 As disclosed in the Cohill Retention Application, Cnhill is cluuging spccinl discounted hourly rates, well

      below Cahill's usual and customary rates, that were ngrecd upon for this matter. The discount amounts to
      npproximatcly $3 ,000 for this period.
 16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09 Exhibit
             D-Monthly Fee Statements and Invoices Pg 35 of 61
16-11700-smb Doc 358 Filed 10/19/16 Entered 10/19/16 14:01:15 Main Document
                                   Pg 8 of 12



                                               EXHIBIT C

                 Summnrv of Actunl nnd Ncccssnrv Expenses for the Fee Pcriocl 6

           Service Description                                                  Amount

             Word Processing                                                     .$32.50                     -



                    Total                                                        $32.50




 ~ Cahill submits that these expenses are reasonable and economical, are lhe type of expenses that are
 customarily charged to Cnhill's non-bankruptcy clients, and reflect the actual amounts billed to, or paid
 by, Cahill on behalf of the Debtors.
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09          Exhibit
            D-Monthly Fee Statements and Invoices Pg 36 of 61
16-11700-smb   Doc 358   Filed 10/19/16 Entered 10/19/16 14:01:15   Main Document
                                       Pg 9 of 12



                                    EXHTBTTD
     16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                                                     Exhibit
                 D-Monthly Fee Statements and Invoices Pg 37 of 61
   16-11700-smb               Doc 358             Filed 10/19/16 Entered 10/19/16 14:01:15                                       Main Document
                                                               Pg 10of12
                                                                                                        Fl:'.D. TAX 10 NO. XX-XXXXXXX
                                                                                                        w1nE l'RANSFEll
Gawker Media, LLC                                                                    HST:IG DANIC USA, 110 WlLJ.TAH STRJ;::F.:T, N.Y.. N."l': 100:38
c/o Oppol'tune LLP                                                                                      ASA #021001oaa
                                                                                                CAHILL GORDON B: REINDEL LL!>
10 East 53rcl Street                                                                                   A/G #015-70965-5
3Jrd Floor                                                                                                                BILL NO.
New York, NY l 0022


                                         GAI-I:CLL GORDON &                                REINDEL LL1:i                             244590
                                                              EIOHTY PlNll: STREET
                                                        NEW Yon1c, N.Y. 1000IS·l 702
                                                                                                                           October 12, 20 l 6




                                                      Re: DIP Soecial Litigation Counsel


            For professionnl services rendered in connection wilh the DIP
            Specinl Litigntion Counsel nmtte1· during lhe period ended
            Septen1ber 30, :!O 16.... ....................... ................... ........................... .........    $      7,360.00
            Disburse111ents nnd charges ................................................................... ..                        32.50
                                                                                            TOTAL                          $      7,392.50
                                                                                                                               --~--
   16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                            Exhibit
               D-Monthly Fee Statements and Invoices Pg 38 of 61
  16-11700-smb        Doc 358    Filed 10/19/16   Entered 10/19/16 14:01:15            Main Document
                                               Pg 11of12
GAWKER MEDIA LLC                                                                               October 12, 2016
DIP Special Litigation Counsel
Pnge 2



FOR PROFESSfONAL SERVICES RENDERED

   DATE                  NAME                                DESCRIPTION                              HOURS
  09/12116      Buckley, S             E-co1T to/from COC re: current status of settlement nnd             0.30
                                       Gawker nrchives
  09/13/16      Buckley, S             E-corr. COC re: settlement issues (.1 O); e-corr to/from J,         0.20
                                       Levitin re: objections not received (.I 0)
  09114116      Levitin, JH            Preparing August fee statement and corresp re same.                0.50
  09/14/16      Buckley, S             Rev, co1T. from Oliveri re settlement progress(. IO); e-           0.40
                                       mem. COC re : same (.1 O); rev. Levitin template and
                                       rev. draft of monthly statement details. (.20)
  09/l 5/I 6    Levitin, JI-I          Conesp w/ S Buckley regarding statement issues.                    0.20
  09/1S/l6      Buckley, S             Intemal communications re: monthly fee statement for               0.30
                                       August
  09116/16      Buckley, S             Gathering information for monthly statement (.50);                 2.00
                                       cntegorizing al! time for monthly stntcment (.50); revise
                                       draft of slatemenl ( 1.0)
  09/19/l 6     Levitin, JH            Finalizing fee statement for fi1ing (.4) and discussions           0.50
                                       w/ S Buckley re same (.I).
  09/19116     Buckley, S              TC J. Levitin re: today's filing                                   0.10
  09/20/16      Buckley, S            Rev. corr. from opposing counsel (.IO); review his                  1.00
                                      revised draft of settlement agreement (.40); mem. to
                                      client re: proposed revisions and suggested response
                                      (.30); c-col'L' to/from S. Abdel re: litigation going
                                      forward (.20)
  09/21/J 6    Buckley, S             Rev, COC comments on new drurt and respond                          0.40
  09/23/16     Buckley, S             Rev. mem. from COC and respond (.40);                               0.60
                                      comm unicnlions with new counsel for Gawker (.20)
  09/28/l 6    Buckley, S             Coffespondence with Will Holden re: scl\lcment (.30);               0.40
                                      rev. corr. from opposing counsel re: same (.10)
 09129/16      Buckley, S             Prep. for conference cull re: settlement (.30); conf. cnll         2.30
                                      Will Holden re: settlement (.50); e-corr. and TC
                                      opposing counsel (.50); revise settlement docs per
                                      disc11ssions (.70); mem. to Holden re: revisions (.30)
    16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                              Exhibit
                D-Monthly Fee Statements and Invoices Pg 39 of 61
   16-11700-smb       Doc 358       Filed 10/19/16      Entered 10/19/16 14:01:15          Main Document
                                                   Pg 12 of 12
GAWKER MEDIA LLC                                                                                 October 12, 2016
DIP Special Litigatlon Counsel
Pnge 3

                          NAME                                  DESCRIPTION                             HOURS
                                           TOTAL TIME                                                        9.20


                                 ~-·---------------TIME REC1\P-----------·-----·-·


             NAME                                    RATE      HOURS                 AMOUNT
            Buckley, S                               800.00         8.00              6,400.00
            Levitin, JH                              800.00         1.20                960.00

                            TOTAL                                   9.20             $7,360.00




 DISBURSEMENTS AND CHARGES                                                 t\MOUNT

Word Processing                                                                 32.50
                                                 Tot.ii Disbmsements          $32.50
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                    Exhibit
            D-Monthly Fee Statements and Invoices Pg 40 of 61
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                                                     Pg 1of13


                                                                  Objection Deadline: December 5, 2016

 CAHILL GORDON & REINDEL LLP
 Sus•m Bllck!ey
 Joel H. Levitin
 Eighty Pinc Street
 New York, New York 10005
 Telephone: (212) 701-3000
 Facsimile: (212) 269-5420

 Special Litigation Counsel to the Debtors and Debtors in Possession

 UNITED STA TES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------x
 fn re                                                         Chapter 11

 Gawker Media LLC, el al., 1                                   Case No. 16-11700 (SMB)

                           Debtors.                            (Jointly Administered)

 ------------------------------------------------------x
         FOURTH MONTHLY STATEMENT OF CAHILL GORDON & REINDEL LLP
              AS SPECIAL LITlGATION COUNSEL TO THE DEBTORS FOR
           COMPENSATION AND REIMBURSEMENT OF EXPENSES TN CURRED
         FOR THE PEIUOD FROM OCTOBER I, 2016 THROUGH OCTOBER 31, 2016




 1
   The lasl four digits of the taxpnycr idcnti Fi cation number of the debtors are: Gawker Media LLC (0492);
 Gawker Media Group, Inc. (3231 ); and Kinjn Kft. (5056). The offices of Gawker Medin LLC and
 Gawker Media Group, Inc. arc located at 114 Fifth Avenue, 2d Floor, New York, NY 10011. Kinja Kfl.'s
 ol'liccs arc located at Andrassy ut 66. I 062 Budapest, Hungary.
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                 Exhibit
            D-Monthly Fee Statements and Invoices Pg 41 of 61

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                                              Pg 2of13


 Name of" Applicant:                             Cohill Gordon & Reindel LLP

 Authorized to Provide
 Professional Services lo:                       The Debtors

 Date or Retention:                              August 11. 2016 mmc pro llmc to June I 0, ?Q 16

 Period for Which Compcnsnlion nnd/or            October 1, 2016, through
 Reimbursement is Sought:                        and including October 31. 2016

 Total Amount of Compensation Sought
 At Agreed Discounted Rates                      Fees: $18,403.40
 (Not Applying 20% Holdback for Fees)            Expenses: $56.97

 This is n(n) X monthly _       interim_ final npplicution. No prior application was filed for this
         . ')
 Fee Penod.-




 2
  Notice of this Monthly Fee Stntement (ns defined herein) will be served in nccordancc with the Interim
 Comrensntion Oi'dcr (as defined herein), ond nny objections to the relief requested in this Monthly Fee
 Statement must be addressed in nccordnnce with the Interim Compensntion Order.
   16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                          Exhibit
               D-Monthly Fee Statements and Invoices Pg 42 of 61

   16-11700-smb      Doc 469      Filed 11/18/16    Entered 11/18/16 16:37:59    Main Document
                                                 Pg 3of13


             Summnrv Chnrt of Previous Monthlv Fee Stntements and Fee Applications

                                           Monthly Fee Statem ents
                                                   Fees         Expenses     Fees Pnid to     Expenses
    Dnte Filed         Period Covered
                                                Requested      Rcqucstcc.l      Date         Pnid to Date
 August 19, 20 16        611 0-7/31 / 16        $31,557.20       $709.26     $25,245.76        $709.26
September 19, 2016      8/l / 16-8/3 l/l 6      $25,440.00       $99.16      $20,352.00         $99.16
 October 19, 2016      9/11 16-9/30/1 6         $7,360.00         $32.50      $5,888.00         $32 .50


                                              Fee Applications
                                                  Fees           Expenses    Fees Paid lo     Expenses
    Date Filed         Period Covered
                                                Rcnucstecl       Requested       Dntc        Pnic.l to Dntc
November 7, 2016       61 l 0/ 16-9/3 0/1 6     $64,357.20        $840.92     $51,485 .76       $840.92
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                     Exhibit
            D-Monthly Fee Statements and Invoices Pg 43 of 61

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                                                Pg 4of13



            Pursuant to sections 327, 330, and 331 of chapter 11 of title 11 of the United States Code

 (lhe "Bankruptcy Code"), Rule 2016 of the Federal Rules of Bankruptcy Procedttre (the

 "Bankrnptcy Rules"), and the Order Establishing Procedures for Interim Compensation and

     Reimbursement of Expenses of Professionals entered by this Court on July 13, 2016 [Docket No.

 94] (the "Interim Compensation Order"), Cahill Gordon & Reindel LLP ("Cahill"), Special

 Litigation Counsel to the debtors and debtors in possession in these proceedings (the "Debtors")

 with respect to the Mail Media Litigation (as defined in the Debtors' Application for Entry of an

 Order Authorizing the Retention and Employment of Cahill dated July 25, 2016 (the "Cahill

 Retention ApDlicnlion") [Docket No. 131           J\ hereby files this monthly fee statement (this
 "Monthlv Fee Stnlcmcnt") for the period of October \, 2016 through nnd including October 31,
                                                                                       1
 2016 (the "Fee Period") for (a) compensation in the amount of $18,403 .40' for the actual and

 necessary legal services rendered by Cahill to the Debtors during the Fee Period (80% of which

 is $ \ 4, 722.72), and (b) reimbursement for the actual and necessary expenses incu1Ted by Cahill

 during the Fee Period in the amount of $56.97.


                        Jtcmi:r.ntion of Services Rendered nncl Disbursements Incurred

           In support of this Monthly Fee Statement, attached are the following exhibits:

           Exhibit A is a schedule of the number of hours expended and foes incurred on an

 aggregate basis by Cahi 11 's attorneys during the Fee Period with respect to certain categories.


 3
     The Cnhil I Retention Applicacion wns grnntcd by Order dnted August 11, 20 IG[Docket No. 169).
 4
   As disclosed in the Cohill Retention Applicntion, Cahill is charging special discounted hourly rates, well
 below Cnh il! 's usunl and customary rules, that were agreed upon for this matter. The discount amounts to
 approximately $7,000 for this period.
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                           Exhibit
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           Exhibit B is a schedule providing certain information regarding the Cahill attorneys and

 paraprofessionals for whose work compensntion is sought in this Monthly Fee Statement.

 Attorneys have expended a totnl of 23.30 hours in connection with the Debtors during the Fee

 Period.

           Exhibit C is a schedule setting forth the total amount of reimbursement sought with

 respect to each category of expenses for which Cahill is seeking reimbursement in this Monthly

 Fee Statement.

           Exhibit D consists of Cuhill's invoice rendered to, and approved by, the Debtors, which

 includes time detail and records of fees and expenses incurred during the Fee Period.

           WHEREFORE, Cahill requests that it be allowed reimbursement for its reasonable fees

 and expenses incurred during the Fee Period in the total amount of $14, 779.69, consisting of (a)

 $14,722.72, which is 80% of the reasonable fees incurred by the Debtors for actual and necessary

 professionnl services rendered by Cahill, and (b) $56.97 for actual and necessary costs and

 expenses, nnd that such fees and expenses be paid as administrative expenses of the Debtors.

 Dated: November 18, 2016
        New York, New York
                                               Isl Joel H. Levitin
                                               Susan Buckley
                                               Joel H. Levitin
                                               CAHfLL GORDON & REINDEL LLP
                                               Eighty Pine Street
                                               New York, New York 10005
                                               Telephone: (212) 701-3000
                                               Facsimile: (212) 269-5420
                                               jlevitin@cahill.com
                                               sgordon@cahi II.com

                                               Special Litigation Counsr!l 10 1he
                                               Debtors and Deb1ors-in-Possessio11
           16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                                                                                                                                                Exhibit
                       D-Monthly Fee Statements and Invoices Pg 45 of 61

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                                                                                                                            Pg 6 of 13



                                                                                                                     EXHIBIT A
                                                                       Statement uf Fees by Subjfil.M_nttet

                     Project Category                                                                             Tot~I Hour s Billed                                                                            Total Fees Requested


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          16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                                                Exhibit
                      D-Monthly Fee Statements and Invoices Pg 46 of 61

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                                                                   EXHIBIT B

                                                               Attorncv Information

      Attorney         Position        Year First               Department              Hourly                       Total                  Total
                                       Admitted                                      Bfiling Ratc 5                  Hours               Compensation
                                        to Bar                                                                       Billed
~us~n auckley

 Joel H. Levitin        Partner .      ._. 1~~J: ~ 1 .,. . )3.~nlq·upt~y &, · ;.. , ·;_890 • · · ' 4·~'J.O .                      ·· ".. $3;76,0t9P .:..
                                 ,,,        -!r"   r> :- •.r   ~ RestrUchtring"•..    ~   .t   ·• ·:.'   ~   ~· ~I            I   ~ ~.   '_.   t.4 ~··:- ... , : :··;:;J:~·_:·
.. Julia Wood
         ,    -
  j   .




      TOTAL                                                                                                          23.30                     $18,403.40

                                                     Blended Hourly Rate: $789.95




           5 As disclosed in the Cahill Retention Application, Cahill is chnrging special discounted hourly rates, well
           below Cohill's usual and customary rates, thnt were ngrecd upon for this matter. The discount amounts to
           approximately $7,000 for this period.
     16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                                           Exhibit
                 D-Monthly Fee Statements and Invoices Pg 47 of 61

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                                                    EXHIBIT C
                                                                                                                     6
                      Summary of Actu:1l nnd Ncccssnrv Expenses fo1· the Fee Pcriod

                Service Description                                                                      Amount
                                                           . -,
                                                    . ·,          ;.
                                                                       ••   j   ~   •   -~   -   •   •
                                                                                                         "$40.72 '.' -· ·< ~ ;·''
                  Word Processing·~ ~ ~. ' ··· .                                                         ."· l6.25 : ' ; .:". "' ~-J   T               '     ,   ..

                                                      c                                                                                ~   •   ~ • •_ •::•        I




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      6
        Cnhill submits that these expenses ure rcasonnble and economical, 11rc the type of expenses that ure
      customarily chnrged to Cahill's non-bankruptcy clients, and reflect the nctu11I amounts billed lo, or paid
      by, Cahil 1on behalf of the Debtors.
16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09            Exhibit
            D-Monthly Fee Statements and Invoices Pg 48 of 61

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  16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                                                        Exhibit
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  16-11700-smb             Doc 469             Filed 11/18/16 Entered 11/18/16 16:37:59                                          Main Document
                                                            Pg 10 of 13
                                                                                                       FED. T A.X ID N"O. 13-5510 02 9
                                                                                                   WIRE TRANSFER
Gnwkcr Media, LLC                                                                 HSDG flANK USA, 110 WILLIAM STREET, N.Y.. N.Y. lOOOB
c/o Opportune LLP                                                                                  ADA #021001088
                                                                                           CAlULL GO ROON & REINDEL LLP
10 Enst 53rd Street                                                                               AIO *015-70965 - S
33rd Floor                                                                                                                BILL NO.
New York, NY 10022


                                      GA.HILL GORDON & REINDEL LLP
                                                                                                                                     245734
                                                            EIOJITY PINI!: STnl!!l!:T
                                                     Nz::w YonK, N.Y. 1ooois-17oe
                                                                                                                          November 15, 2016




                                                    Re: DIP Special Litigation Counsel


         For professional services rendered in connection with the DIP
         Special Litigation Counsel matter during the period ended October
         31, 2016......................................................................................................     $    18,403.40
         Disburse1nents and charges .....................................................................
                                                                                           TOTAL                            $   __ __56.97
                                                                                                                                  ......
                                                                                                                                 18,460.37
 16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                  Exhibit
             D-Monthly Fee Statements and Invoices Pg 50 of 61

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                                               Pg 11of13
GAWKER MEDIA LLC                                                                            November 15, 2016
DIP Special Litigation Counse l
Page 2



FOR PROFESSIONAL SERVICES RENDERED

   DATE                 NAME                                 DESCRIPTlON                              HOURS
  10/03/16      Buckley, S              E-corr. WHolden re: revised draft (.IO); respond to                 0.20
                                        questions from GGnllardi re: settlement (.10)
  10/04/16      Buckley, S              Rev. response from Will Holden (.IO); revise current                1.60
                                        draft of agreement pc1· same {.40); arrange for redlinc
                                        for opposing cooosel (.IO); further revisions on
                                        agreement (.40); corr. Holden re: timing (.20); c01T.
                                        opposing counsel with revised draft (.20); mem. to
                                        James King (.20)
  10/05/I 6     Bt1ckley, S             Communications with WHolden re: settlement issues                   0.20
                                        (.20)
  I 0/12116     Buckley, S              Rev. mem. from opposing counsel re: settlement details              I .00
                                        (.20); mcm. to Jnmes King requesting his consent (.20);
                                        mem. lo WHoldcn re: settlement posture and request for
                                        details (.40); rev. prior discussions re: illustration to
                                        respond (.20)
  10/13/16      Buckley, S              E-corr. JKing re: reactions to settlement agreement                 0.30
                                        (.10); fmthcr communications James King (.20)
  I 0/14/16     Buckley, S             Communications with opposing counsel re: final                       0.40
                                       settlement details (.20); e-corr. to/from WHolden re:
                                       status of consullnnt (.20)
  10/17/16      Levitin, JH            Review nnd revise fee statement.                                     0.40
  l 0/ 17/16    Bi1ckley, S            Prepare September monthly statement (I. 70);                         2.30
                                       communications with JLevitin re: same (.20); revise
                                       statement to incorporate JL suggestions and new
                                       additions to chart (.40)
  I 0/1B/J6     Levitin, JH            Discussions w/ S Buckley re finalizing fee statement.                0.10
  10/18/16      Buckley, S             Rev, JOliveii mem. re: parties needed lo sign (.20);                 1.80
                                       research con·. in June re: same (.30); respond to JO!iveri
                                       re: request to substitute/remove Mail Medie (.40); e-
                                       COIT. to/from WHolden re: status of' consult!ll1t (.20); TC
                                       JLcvitin re: filing/service of monthly statement (.20);
                                       inquiries re: fees and expenses received to date {.40); e-
                                       corr. to Holden re; approvnl of September statement
                                       (.10)
  16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                    Exhibit
              D-Monthly Fee Statements and Invoices Pg 51 of 61

  16-11700-smb         Doc 469      Filed 11/18/16    Entered 11/18/16 16:37:59           Main Document
                                                  Pg 12of13
GI\ WKER MEDIA LLC                                                                             November 15, 201 G
DIP Specinl Litigatil'> n Counsel
lJagc 3

    DATE                  NAME                                  DESCRIPTION                              HOURS
   10/19/16      Levitin, JH              Discussions w/ S Buckley re settlement issues.                        0.20
   l0/l9/16       Buckley, S              E-co11'. and TC with JLevitin re: entity issue raised by             3,00
                                          plaintiffs (.30); e-con. nnd TC JWood re: motion to
                                          amend/substitute (.40); rev. King employment contract
                                          (.30); finalize monthly fee statement nnd corr. re: filing
                                          and service (.50); draft response to plaintiffs counsel's
                                          comments/revisions on settlement documents nnd
                                          circulate (.50); rev. comments from intemnl team re:
                                          same (.20); revise corr. to plaintiffs counsel and
                                          circulate (.20); commw1ications with Ropes and Gray
                                          (.20); rev. current draft of settlement docs re: Daily Mail
                                          entity issue (.20); e~colT. and TC JWood re: same (.20)
  10/19/l 6      Wood,JK                  Review Jnmes King independent contractor agreement                   0.70
                                          and settlement agreement (.30); review emails from Mr.
                                          Oliveri re: entity for settlement agreement and consider
                                          consequences (.30); discuss with Ms. Buckley (.10).
  10/20/J 6      Buckley, S               Communications wilh opposing counsel re: DM entity                   0.80
                                          issue for settlement documents (.50); communications
                                          wit l WHolden re: issues co ncerning Gawkcr's
                                          effectuation of settlement (.30)
  10/24/16       Levitin, JH              Discussions w/ S Buckley regarding settlement details                0.20
                                          and logistics.
  1onc111G       Buckley, S               Communications with JLevitin re: plaintiffs proposal to              1.10
                                          amend its pleading in conjunction with settlement (.30);
                                          communications with MMcLaughlin re: procedures
                                          available in NYS to den) with plnintiffs issue (.30); draft
                                          proposed notice and transmit lo plaintiffs counsel for
                                          potential resolution of entity issue (.50)
  l 0/25/16      Buckley, S               Communications with Will Holden re: status of                        1.00
                                          settlement (.20); prep. package of current drafts of all
                                          settlement papers for WHolde11 (.60); rev. \VHolden
                                          draft instruclions for seUlement nnd respond (.20)
  10/26116       Buckley, S               Communications with Managing Clerks re: status                       0.70
                                          conference tomorrow (.30); pull and review scheduling
                                          order in prep. for conference (.20); corr. to plaintiffs
                                          counsel re: status of settlement (.20)
  10/27116       Buckley, S               Attend status conference before Justice Recd including               3.50
                                          discussions with Jaw secrelary and courtroom deputy re:
                                          adjoununent (2.50); communications with local counsel
  16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                       Exhibit
              D-Monthly Fee Statements and Invoices Pg 52 of 61
  16-11700-smb          Doc 469     Filed 11/18/16 Entered 11/18/16 16:37:59                 Main Document
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GAWKER MEDIA LLC                                                                                    November 15, 2016
DrP Specinl Litigution Counsel
Page 4

                             NAME                                DESCRIPTION                                HOURS
                                            re: plaintiffs, Clare Locke and WHolden re: proceedings
                                            in court ( 1.0)
   I 0/31II6       Levitin, JH              Review of snle filings re assumption of liabilities (1.50);            3.BO
                                            discussions with S. Buckley re: same (.20); discussions
                                            with G. Galardi re: payments (.30); discussions whh J.
                                            Gill re: APA terms (,30); begin preparation of first
                                            interim fee npplicntion ( l .50).

                                            TOTAL TIME                                                            23.30


                                  -----------·--------TIME RECAP--------------------

                NAME                                  RATE       HOURS                 AMOUNT
               Buckley, S                             800.00        17.90               14,320.00
               Levitin, JH                            800.00         4.70                3,760.00
               Wood, JK                               462.00         0.70                  323.40

                                 TOTAL                              23.30              $18,403.40




 DISBURSEMENTS AND CHARGES                                                  AMOUNT

Collrt Costs                                                                     40.72
Word Processing                                                                  16.25
                                                  Total Disbursements           $56.97
    16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                                               Exhibit
                D-Monthly Fee Statements and Invoices Pg 53 of 61



                                                                                                FED, TAX ID NO. XX-XXXXXXX
                                                                                              WIRE TRANSFER
Gawker Media, LLC                                                            HS.BGBANIC USA, UOWILLIAMSTnEET, N.Y., N.Y. 10000
                                                                                               A.EA #021001088
e/o Opportune LLP
                                                                                      GA.llILL GORDON & REINDEL LLP
10 East 53rd Street                                                                           A/C #015-70965-5
33rd Floor                                                                                                         EllLL NO.
New York, NY I0022


                                    CAHILL GOH.DON & REINDEL LLP
                                                                                                                               246693
                                                        EIGHTY PINE STREET
                                                  Nnw Yonit, N.Y. 10005·1702
                                                                                                                   December 14, 2016




                                Re: Gawker-DIP Special Litigation Counsel (Mail Online)


         For professional services rendered in connection with the DIP
         Spcl:inl Litigation Counsel matter dming the period ended
         N ovcn1 ber 30, 2016 ..................................................................................     $     21,680.00
                                                                                      TOTAL                          $     21,680.00
                                                                                                                         ~-------
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DIP Special Litigation Counsel
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FOR PROFESSIONAL SERVICES RENDERED

   DATE                  NAME                         DESCRIPTION                               HOURS
  11/01/16      Buckley, S       Rev. CPLR provisions re: requirements for                            0.40
                                 discontinuance
  11/02/16      Buckley, S       E-corr. Oliveri re: status of his clients deliberations             0.60
                                 (.1 O); revise agreement to incorporate comments from
                                 WHoldcn (.40); TC JLevitin re: status (.10)
  11/03/16      Buckley, S       Rev. mem. from JOliveri re: his proposed course of                   1.30
                                 action (.20); TCs MMcLoughlin re: county clerk
                                 requirements (.30); mem. to WHolden re: settlement
                                 issues raised by plaintiff (.50); TC WHolden re: same
                                 (.30)
  I UO / 16     Buck ley, S      £-corr. JOliveri re: proposed notice (.10); revise                   1.10
                                 stipulation to add additional parties (.40); revise
                                 agreement to conform to notice (.50); c-mem.
                                 MMc:Loughlin re: notice {.10)
  11/07/16      Levitin, JH      Co!1"esp re fee application.                                        0.30
  11/07116      Levitin, JH      Prep of fee application,                                            4.00
  11/07/16      Buckley, S       TC JLevitin re: interim fee application (.1 O); rev.                2.10
                                 template provided by Ropes & Gray (.30); draft
                                 description of services provided through 9/30 (.50);
                                 review and revise JL drafts of interim fee application
                                 (1.0); provide comments on final draft (.20)
  11108/16      Buckley, S       TC WHolden re: monthly fee statements (.20); e-corr.                0.40
                                 and TC Maura McLaughlin re: discontinuance steps
                                 (.20)
  11114/16      Levitin, JI-I    Discussions w/ G Zipes of US Trustee's ofJice re Ledes              0.20
                                 data.
  11/14/16     Buckley, S        Review and revise notice (.20); revisions to agreement              2.00
                                 (1.0); communications with WHolden re: revisions to
                                 agreement (.40); communications with WI-Iolden re:
                                 AIG inquiries (.30); e-corr. JWood re: plaintiffs filing of
                                 today(. 10)
  11115/16     Levitin, JH       Coordinating to obtain Ledes data files for fee                     0.50
                                 application.
 11/15/16      Buckley, S        Communications with WHolden re: fee application                     0.30
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DIP Special Litigation Counsel
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    DATE                  NAME                         DESCRJPTJON                             HOURS
                                 mailers
  11/16/16       Buckley, S       Communications with WHolden re: settlement details                 0.20
  11/17/16       Levitin, JI-I   Review of monthly fee statement and conesp re same.                 0.50
  11/17/16      Buckley, S       Draft fourth monthly fee statement (1.20); TC opposing             2.00
                                 counsel re: status (.20); circulate draft for comments
                                 (.1 O); revise and finalize fee statement (.30); c-corr.
                                 WHolden re: plaintiffs response (.20)
  l l /18116    Buckley, S       TC Managing Clerks re: filing today (.1 O); finalize               0.80
                                 exhibits (.20); e-corr. Managing Clerks with final (.IO);
                                 2 TCs JLevitin re: settlement timing (.20); e-corr.
                                 to/from JLevitin re: request from Ropes & Gray (.20)
  11/21 /16     Levitin, JH      Review of settlement.                                              0.50
  11/21/16      Buckley, S       Rev. corr. from opposing counsel re: additional                    3.30
                                 signators (.20); revise and finalize all settlement
                                 documents (l.80); communications with WHolden re:
                                 final drnf1s (.20); final revisions per Will Holden (.20);
                                 circulale final drafts to client, opposing counsel and
                                 James King for execution (.40); communications with
                                 Ropes & Gray re: motion for approval (.30);
                                 communications with Levitin re: motion (.20)
  l l /22/J 6   Buckley, S       Communications with Univision re: payment issues                   0. 10
  11/28/16      Buckley, S       Communications with \VHolden re: execution of                      1.00
                                 agreement (.20); rev. agreement received (.20);
                                 communications JKing re: execution (.2); conference
                                 James King re: execution (.40)
  11/29/16      Levitin, JI-I    Review of settlement agreement and excculed draft                  1.00
                                 settlement motion.
  l l/29116     Buckley, S       Communications with client re: settlement execution                2.80
                                 (.30); communication with JO!iveri re: same (.40);
                                 finalize all documents and exchange execution pages
                                 (.80); mem. to Ropes re: motion (.30); review and
                                 comment on Ropes motion (.40); corr. Ropes re: motion
                                 (.20); TC JKing re: proof of claim lawyer (.1 O);
                                 communications with JL re: UST commen!s on
                                 applications (.30)
 11/30/16       Levitin, JH      Review of expense back-up nnd corresp re same to                   0.50
                                 UST.
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GAWKER MEDIA LLC                                                                                   December 14, 2016
Df P Special Litigation Counsel
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    DATE                    NAME                                 DESCRIPTION                               HOURS
   11/30/16       Buckley, S                Respond to US Tmstee request for back-up and describe                1.20
                                            same (.40); TCs JLevitin re: UST comments (.20); c-
                                            corr. JOliveri re: filed motion (.20); collect fee info for
                                            R&G and corr. re: snme (.40)

                                            TOTAL TIME                                                          27.10


                                  ----------------·---TIME RECAP--------------------

               NAME                                    RATE      HOURS                 AMOUNT
              Buckley, S                              800.00        19.60              15,680.00
              Levitin, JH                             800.00         7.50               6,000.00

                               TOTAL                                27.10          $21,680.00
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                                                                                                FED.1"AX ID NO. XX-XXXXXXX
                                                                                            WIRE TRANSFER
Gawker Media, LLC                                                            HSBC DANK USA.110 WILLIAM STREET. N.Y.. N.Y. 10036
                                                                                             AB.A. #021001008
c/o Opportune LLP                                                                    CAHILL GORDON B: REI2'TDEL LLP
10 East 53rd Street                                                                         A.IC #015-70965-5
33rd Floor                                                                                                       EILL NO.
New York, NY 10022


                                     CAHILL GORDON &                                REINDEL LLP                              247763
                                                         ErGHTY PINE STREE'.r
                                                   Nn:w Yonrr, N.Y. 10005·1702
                                                                                                                  February 8, 2017




                                                 Re: DIP Special Litigation Counsel


          For professional services rendered in connection with the DIP
          Special Litigation Counsel matter during the period ended
          December 31, 2016...................................................................................    $         8,080.00
          Disbursements and charges.....................................................................                      40.88
                                                                                    TOTAL                         $~~8~,1_20_._88_
    16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                         Exhibit
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GAWKER MEDIA LLC                                                                          February 8, 2017
DIP Special Litigation Counsel
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FOR PROFESSIONAL SERVICES RENDERED

   DATE                NAME                            DESCRIPTION                                HOURS
  12/06/16      Buckley, S       E-corr. to/from WHolden re: insurance issues for                      0.80
                                 litigation (.20); mcm. to AIG re: same (.20); gather
                                 additional info for AIG request (.40)
  12/13/16-     Buckley, S       TC JLevitin i'e: ·hearing on·Timrsday (: l O); rev:--mem:- --   --   - 1: 80 -~

                                 from JLevitin re: UST response (.1 O); TC
                                 NMarcantonio re: status conference in NY Supreme
                                 (.20); rev. Justice Reed rules on adjournment (.20); draft
                                 letter to part clerk (.30); TC NMarcantonio re:
                                 procedure (.1 O); TC part clerk re: requesting
                                 adjournment (.20); TC Joe Oliveri re: same (.1 O)i draft
                                 email re: conference (.30); e-corr. to/from
                                 NMarcantonio (.20)
  12114/16      Buckley, S       Rev. corr. from Set clerk's office (.1 O); con. opposing             1.00
                                 counsel re: adjournment of conference (.10); corr.
                                 WHoldcn re: November statement (.1 O);
                                 correspondence with JLevitin and Ropes & Gray re:
                                 hearing tomorrow (.20); prep for hearing (.50)
  12/15/16     Buckley, S        Attend and participate in hearing before Bankruptcy                  1.50
                                 Court (1.0); communications with JLevitin and Ropes &
                                 Gray re: snme (.50)
  12/20/16     Buckley, S        TC JLevitin re: hearing on 12/29                                     0.20
  12/23/16     Buckley, S        Communications with Ropes & Gray, .I. Levitin and                    0.50
                                 Will Holden re: 12/29 hearing
  12/27/16     Buckley, S        Mem. to WHoldcn re: settlement obligations and timing                0.40
  12/28/l 6    Buckley, S        Rev. order on settlement (.1 O); instructions to client and          1.70
                                 communications regarding compliance (.80);
                                 communications with JLevitin and Ropes & Gray re:
                                 hearing 12/29 (.50); corr. opposing counsel re: hearing
                                 (.30)
 12/29116      Buckley, S        Communications with client and opposing counsel re:                  2.00
                                 effectuation of settlement obligations and timing re:
                                 same
 12/30/16      Buckley, S        Communications with client and opposing counsel re:                  0.20
                                 settlement effectuation
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                        NAME                                    DESCRIPTION                             HOURS

                                           TOTAL TIME                                                        10.10


                                 --------------------TIME RECAP--------------------

             NAME                                     RATE      HOURS                 AMOUNT
           Buckley, S                                800.00·       t 0.1 o             8,080.00----- - - - - · - · -

                           TOTAL                                   10.10              $8,080.00




 DISBURSEMENTS AND CHARGES                                                   AMOUNT

Local Transportation                                                             40.88
                                                 Total Disbursements           $40.88
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                                                                                                           FED. TA.X ID NO. XX-XXXXXXX
                                                                                                        WIRE TRANSFER
Gawker Media, LLC                                                                     CITII3ANK, NA, l~S EAST ~:3RD STREET, N.Y., N.Y. 100122
                                                                                                        ABA #021000009
c/o Opportune LLP                                                                               CAHILL GORDON & REINDEL LLP
l 0 East SJ rd Street                                                                                                  A/C #6780031250
33rd Floor                                                                                                                    BILL NO.
New York, NY 10022


                                         C.A:r-IILL GORDON & REINDEL LLP
                                                                                                                                           248341
                                                               EIGHTY PINE ST:REE'l'
                                                        NEw Yonn:, N.Y. l.0005-1702
                                                                                                                                   March 27, 2017




                                                       Re: DIP Special Litigation Counsel


          For professional services rendered in connection with the Mail
          Online matter for the period January l, 2017 through February 28,
          2017 ............................................................................................................    $         1,200.00
           Disburse1nents and charges .................................................................... .
                                                                                              TOTAL                            $
                                                                                                                                   __ __    48.06
                                                                                                                                         ..._
                                                                                                                                         1,248.06
     16-11700-smb Doc 875-4 Filed 04/20/17 Entered 04/20/17 12:14:09                                Exhibit
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DIP Special Litigation Counsel
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FOR PROFESSJONAL SERVICES RENDERED

    DATE                   NAME                                   DESCRIPTION                            HOURS
   01/04/17       Buckley, S                Corresp. re: stipulation of discontinuance (.30); corresp.        0.50
                                            R&G re: status of DM proof of claim (.20)
   01/05/17       Buckley, S                Finalizing stip of discontinuance and communications              1.00
                                            with opposing counsel and R&G re: same (l .O)

                                            TOTAL TIME                                                        J.50


                                 --------------------TIME REC AP--- -----------------

               NAME                                   RATE       HOURS                  AMOUNT
              Buckley, S                              800.00          1.50               1,200.00

                               TOTAL                                  1.50              $1,200.00




 DISBURSEMENTS AND CHARGES                                                   AMOUNT

Local Transportation                                                              48.06
                                                  Total Disbursements            $48.06
